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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION

 JAVIER CAZARES, Individually as Wrongful §
 Death Beneficiary of J.J.C., Deceased Minor, et §
 al.,                                            §
                                                 §
              Plaintiffs,                        §
 v.                                              § No. 2:24-cv-00045-AM
                                                 §
 JUAN MALDONADO, et al.,                         §
                                                 §
              Defendants.                        §
                                                 §
                                                 §



               DEFENDANT MOTOROLA SOLUTIONS, INC.’S
         UNOPPOSED MOTION FOR EXTENSION OF TIME TO ANSWER
       OR OTHERWISE RESPOND TO PLAINTIFF’S AMENDED COMPLAINT

        Defendant Motorola Solutions, Inc. (“Motorola”), hereby moves the Court for an extension

of time to respond to Plaintiff’s Complaint and respectfully shows the Court as follows:

        1.      Plaintiff’s Complaint was filed on May 22, 2024.

        2.      Plaintiff’s Amended Complaint was filed on May 24, 2024.

        3.      Motorola was served with the Complaint on May 30, 2024.

        4.      Motorola’s responsive pleading is currently due June 20, 2024.

        5.      Motorola is in the process of gathering information necessary to respond to the

factual allegations in the Complaint.

        6.      Motorola’s counsel has conferred with Plaintiff’s counsel and they do not oppose

this request.

        7.      This is Motorola’s first request for an extension of time. The request extension will

not prejudice the parties.


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         8.      For the above reasons, Motorola requests that the Court issue an order extending

the time within which it must answer or otherwise respond to Plaintiff’s Complaint to July 22,

2024.



Dated:          June 20, 2024                   Respectfully submitted,



                                                /s/ Pete D. Laun
                                                Pete D. Laun
                                                Texas State Bar No. 24108952
                                                Joseph C. Van Asten (admission pending)
                                                Texas State Bar No. 24075598
                                                Paulina Nenclares (admission pending)
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                                                ATTORNEYS FOR DEFENDANT
                                                MOTOROLA SOLUTIONS, INC.




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                             CERTIFICATE OF CONFERENCE

   I hereby certify that on June 19, 2024, Motorola’s counsel conferred with Plaintiff’s counsel

via e-mail regarding the relief requested and they are unopposed to the request.

                                                            /s/ Pete D. Laun
                                                            Pete D. Laun




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                                 CERTIFICATE OF SERVICE

   I hereby certify that on June 20, 2024, I caused the foregoing to be electronically filed with

the Clerk of Court for the U.S. District Court, Western District of Texas, by using the CM/ECF

system, which will send notice of electronic filing to all counsel of record.

                                                              /s/ Pete D. Laun
                                                              Pete D. Laun




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